 B6D (Official Form 6D) (12/07)


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  In re         Dean Gregory Asimos                                                                                        Case No.
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                           I    Q   U                            PORTION, IF
                                                        T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxxxx8976                                          January 2009                                                E
                                                                                                                            D

Mercedes-Benz Financial                                         Auto
P.O. Box 9001680
                                                              2006 Mercedes Benz S430
Louisville, KY 40290
                                                            - Mileage: 185,456
                                                              Fair Condition
                                                                Value $                                13,400.00                          45,000.00                31,600.00
Account No. xxxxxx5138                                          First Mortgage

Ocwen Loan Servicing                                            Detached Home
P.O. Box 6440                                                   1040 E. MacArthur St.
Carol Stream, IL 60197                                          Sonoma, CA 95476
                                                            -

                                                                Value $                               607,600.00                        764,872.80               157,272.80
Account No.                                                     2009

Vincent P O'Leary                                               Second Mortgage
438 Hillsborough Blvd.
                                                              Detached Home
San Mateo, CA 94401
                                                            - 1040 E. MacArthur St.
                                                              Sonoma, CA 95476
                                                                Value $                               607,600.00                        125,000.00               125,000.00
Account No.




                                                                Value $
                                                                                                                    Subtotal
 0
_____ continuation sheets attached                                                                                                      934,872.80               313,872.80
                                                                                                           (Total of this page)
                                                                                                                     Total              934,872.80               313,872.80
                                                                                           (Report on Summary of Schedules)


               Exhibit B
              Case: 11-13214
              Case: 11-13214 Doc#
                             Doc# 19-4 Filed:
                                          Filed: 08/30/11 Entered:
                                              08/29/11      Entered: 08/30/11
                                                                   08/29/11
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